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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

____________________________________
                                    )
DANIEL B. MARTIN,                   )
                                    )
      Plaintiff,                    )             Case No. 3:23-cv-04859-RFL
v.                                  )
                                    )
MASTERS, MATES, & PILOTS            )             [PROPOSED] ORDER
                                    )
      and                           )
                                    )
MATSON NAVIGATION CO.               )
                                    )
      Defendant.                    )
____________________________________)             Date: July 1, 2024

                                    [PROPOSED] ORDER

       Pending before the Court is Plaintiff’s Unopposed Motion for Continuance the Motion to

Dismiss Hearing in the above-captioned case. After reviewing the Unopposed Motion and the

record, the Court is of the opinion that this motion should be GRANTED, and a continuance

allowed with the new Motion to Dismiss Hearing set for August 27, 2024.

       It is SO ORDERED.

       Signed this 1st of July, 2024.

                                                  ____________________________________
                                                          Honorable Rita F. Lin
